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                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                           CENTRAL DIVISION AT LEXINGTON


                                                                 FILED ELECTRONICALLY

IN RE CLASSICSTAR MARE LEASE                       )   MDL No.     1877
LITIGA TION                                        )
                                                   )
                                                   )   Master File:
                                                   )   Civil Action No.: 5:07-cv-353-JMH
                                                   )
AN                                                 )
                                                   )
WEST HILLS FARS, LLC, ET AL.                       )
                                                   )
                               PLAITIFFS           )
v.                                                 )   CASE NO.: 06-243-JMH
                                                   )
CLASSICSTAR, LLC, ET AL.                           )
                                                   )
                               DEFENDANTS.         )




                          DEFAULT JUDGMENT
           AGAINST DEFENDANT. NATIONAL EQUINE LENDING CO.. LLC


        Plaintiffs, West Hills Farms, LLC, Arbor Farms, LLC, Nelson Breeders, LLC,

MacDonald Stables, LLC, and Jaswinder and Monica Grover (collectively referred to herein as

"Plaintiffs"), having moved for default judgment against Defendant, National Equine Lending

Co., LLC ("NELC"), and the Court being in all ways suffciently advised, it is hereby

ORDERED that:

        i. Plaintiffs' Motion is granted; and


        2. Judgment is hereby entered against Defendant, National Equine Lending Co.,

LLC, on the claims of the Plaintiffs against it.
   Case: 5:06-cv-00243-JMH-REW Doc #: 233-2 Filed: 03/28/08 Page: 2 of 2 - Page ID#:
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                                      Judge, u.s. District Court for the Eastern District
                                      of   Kentucky, Central Division at Lexington




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